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MIED ProSe 1 (Rev /) Complaint for a Civil Case


                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MICHIGAN


Melvin Jones Jr. (and other indigent disabled ADULT
Flint residents whom are similarly situated)                           Case No.
                                                                       ________________________________
                                                                       (to be filled in by the Clerk’s Office)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional      Jury Trial:   տ Yes տ   ✔ No
page with the full list of names.)                                                   (check one)

v.
VEOLIA NORTH




(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)


                                        Complaint for a Civil Case
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I.       The Parties to This Complaint
         A.       The Plaintiff(s)
                  Provide the information below for each plaintiff named in the complaint. Attach
                  additional pages if needed.
                           Name                      Melvin Jones Jr.
                                                     __________________________________________
                           Street Address            1935 Hosler St.
                                                     __________________________________________
                           City and County           Flint Genesee County
                                                     __________________________________________
                           State and Zip Code        Michigan, 48503
                                                     __________________________________________
                           Telephone Number          810-962-6225
                                                     __________________________________________
                           E-mail Address            meljonesjr@gmail.com
                                                     __________________________________________

         B.       The Defendant(s)
                  Provide the information below for each defendant named in the complaint, whether the
                  defendant is an individual, a government agency, an organization, or a corporation.
                  For an individual defendant, include the person’s job or title (if known). Attach
                  additional pages if needed.
                  Defendant No. 1
                           Name                      VEOLIA NORTH/ Veolia
                                                     __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            Chemin de la Digue
                                                     __________________________________________
                           City and County           Maisons-Laffitte France, EU
                                                     __________________________________________
                           State and Zip Code        BP 76 78603
                                                     __________________________________________
                           Telephone Number          01 34 93 31 31
                                                     __________________________________________
                           E-mail Address            jmcampbell@campbell-triallawyers.com
                                                     __________________________________________
                           (if known)

                  Defendant No. 2
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)

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                  Defendant No. 3
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)

                  Defendant No. 4
                           Name                      __________________________________________
                           Job or Title              __________________________________________
                           (if known)
                           Street Address            __________________________________________
                           City and County           __________________________________________
                           State and Zip Code        __________________________________________
                           Telephone Number          __________________________________________
                           E-mail Address            __________________________________________
                           (if known)



II.      Basis for Jurisdiction
         Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
         cases can be heard in federal court: cases involving a federal question and cases involving
         diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
         States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C.
         § 1332, a case in which a citizen of one State sues a citizen of another State or nation and the
         amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of
         citizenship case, no defendant may be a citizen of the same State as any plaintiff.

         What is the basis for federal court jurisdiction? (check all that apply)
                    տ
                    ✔ Federal question                          տ Diversity of citizenship

         Fill out the paragraphs in this section that apply to this case.




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         A.       If the Basis for Jurisdiction Is a Federal Question
                  List the specific federal statutes, federal treaties, and/or provisions of the United States
                  Constitution that are at issue in this case.
                  GENERAL FEDERAL JURISDICTION AS CURRRENTLY PERTAINS TO THE
                  FLINT WATER CRISIS LAWSUITS # 16-cv-10444 JEL MKM




         B.       If the Basis for Jurisdiction Is Diversity of Citizenship

                  1.       The Plaintiff(s)

                           a.        If the plaintiff is an individual
                                     The plaintiff, (name) _________________________________________,
                                                              MELVIN JONES JR (and class members)
                                     is a citizen of the State of (name) _______________________.
                                                                         MICHIGAN

                           b.        If the plaintiff is a corporation
                                     The plaintiff, (name) ________________________________________,
                                                              N/A
                                     is incorporated under the laws of the State of (name)
                                     ______________________, and has its principal place of business in the
                                     State of (name) _______________________.

                           (If more than one plaintiff is named in the complaint, attach an additional page
                           providing the same information for each additional plaintiff.)

                  2.       The Defendant(s)

                           a.        If the defendant is an individual
                                     The defendant, (name) ______________________,
                                                              VEOLIA NORTH          is a citizen of the
                                     State of (name) _______________________. Or is a citizen of (foreign
                                     nation) _______________________.
                                              FRANCE

                           b.        If the defendant is a corporation
                                     The defendant, (name) _______________________,
                                                              VEOLIA NORTH                   is incorporated
                                     under the laws of the State of (name) _______________________, and
                                     has its principal place of business in the State of (name)
                                     _______________________. Or is incorporated under the laws of
                                     (foreign nation) _______________________,
                                                       FRANCE                         and has its principal place
                                     of business in (name) _______________________.
                                                             FRANCE

                           (If more than one defendant is named in the complaint, attach an additional
                           page providing the same information for each additional defendant.)

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                  3.       The Amount in Controversy

                           The amount in controversy—the amount the plaintiff claims the defendant owes
                           or the amount at stake—is more than $75,000, not counting interest and costs of
                           court, because (explain):
                           As the Honorable Court deems just and appropriate.




III.     Statement of Claim
         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly
         as possible the facts showing that each plaintiff is entitled to the damages or other relief sought.
         State how each defendant was involved and what each defendant did that caused the plaintiff
         harm or violated the plaintiff’s rights, including the dates and places of that involvement or
         conduct. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.
         Veolia North is a world class company and is and was (e.g. in or about) 2015 of the ability and
         professional ability to meaningfully prevent the contuned harm suffered by the Disabled
         Residents of the City of Flint as to it's sloppy contract and bid proceedures which were
         undertaken by Veolia with the City of Flint. Here, Veolia undertook sloppy and substandard
         bid and contractual procedures in that the PROPER "players" as to such WERE NOT
         appropriately involved in said process.

         For example, VEOLIA was sloppy in NOT including in NOT properly including the
         appropriate Michgan State "player[s]" in said bid and proposal process [AND] said contractual
         process with the City of Flint ---- and thereby VEOLIA's "part as a player in the Flint Water
         Crisis [and] caussation as to my continued harm [and others similarily situatted as me]
         unfortunately accelearated the continued adverse harm and/ or substantially [unduely]
         contributed to such.

         Further, VEOLIA was sloppy in not including (as a review and complaince "chek point" [for
         example]) with the approprate United States Governmental "player[s]" as the [sloppy] bid,
         proposal and contractual process with the City of Flint ....which also CONTINUES to add to
         the contniued harm suffered by me (and others similarly situated in the City of Flint) due to
         such.




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IV.      Relief
         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do
         not make legal arguments. Include any basis for claiming that the wrongs alleged are
         continuing at the present time. Include the amounts of any actual damages claimed for the acts
         alleged and the basis for these amounts. Include any punitive or exemplary damages claimed,
         the amounts, and the reasons you claim you are entitled to actual or punitive money damages.
         HARM AS TO MY ONGOING FEAR OF THE USE AND SAFETY OF THE WATER AT
         MY HOME;

         CONTINUED HARM DUE TO VEOLIA SLOPPY BID AND CONTRACTUAL
         PROCEEDURES WITH THE CITY OF FLINT,

         CONTINUED HARM AS TO VEOLIA FAILURE TO PROPERLY CONSIDER THE
         DISABLED FLINT RESIDENTS SUCH AS MYSELF AND THOSE SIMILARILY
         SITUATED WHICH CONTINUES TO RESULT (and/ or) HAS FURTHERED THE SILENT
         EMOTIONA: TOLL UPON THE DISABLED IN THE CITY OF FLINT,

         CONTINUED HARM AS TO VEOLIA's FAILURE TO RPOPERLY CONSIDER THE
         DISABLED POPULATION OF THE CITY OF FLINT's IMPOVERISHED ECONOMIC
         STAT STATUS



V.       Certification and Closing
         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
         knowledge, information, and belief that this complaint: (1) is not being presented for an
         improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
         litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
         modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
         specifically so identified, will likely have evidentiary support after a reasonable opportunity for
         further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule 11.


         A.       For Parties Without an Attorney
                  I agree to provide the Clerk’s Office with any changes to my address where case-
                  related papers may be served. I understand that my failure to keep a current address on
                  file with the Clerk’s Office may result in the dismissal of my case.

                  Date of signing: April
                                   _____________________,
                                         27th             20_____.
                                                             21

                  Signature of Plaintiff             ___________________________________________
                  Printed Name of Plaintiff          ___________________________________________
                                                      MELVIN JONES JR.


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Additional Information:
PLEASE NOTE:
1. Plaintiff Melvin Jones Jr. is a disabled person per MCL 257.19a --- and is markedly mobility
impaired, and due to his serious medical disability... Jones' Michigan State Drivers License is medically
suspended,

2.) This Civil Complaint seeks CLASS CERTIFICATION for those similarily situated as Disabled
Plaintiff Melvin Jones Jr.,

REQUEST FOR APPOINTMENT OF COUNSEL:
Due to the complexity of intended Class Action Status of the instant Law Suit.... Plaintiff Melvin Jones
Jr. respectfully requests APPOINTMENT OF AN ATTORNEY by the Court.

CASE TRANSFER APPROPRIATE:
This CASE should be tranfered to Hon. Judge Levy

RELATED CASE NOTICE:

2.) The instant CIVL COMPLAINT is made with a simutaneous request for appointment of attorney by
the Court.... because this case is RELATED to curent litigation in the Federal District Court in Ann
Arbor --- the Flint Water Crisis Case pending against VEOLIA ...case # 16-cv-10444 JEL MKM.




                                                     
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PURSUANT TO LOCAL RULE 83.11
1.               Is this a case that has been previously dismissed?                        Yes
                                                                                         ■ No
     If yes, give the following information:

     Court:

     Case No.:

     Judge:



2.               Other than stated above, are there any pending or previously
                 discontinued or dismissed companion cases in this or any other          ■ Yes
                 court, including state court? (Companion cases are matters in which       No
                 it appears substantially similar evidence will be offered or the same
                 or related parties are present and the cases arise out of the same
                 transaction or occurrence.)

     If yes, give the following information:

     Court: Federal District Court - ANN ARBOR

     Case No.: 5:16-cv-10444 JEL MKM

     Judge: Hon. Judge Judith Levy


Notes :
                      Case 5:21-cv-10937-JEL-EAS  ECF No. 1, PageID.9      &RXQW\LQZKLFKDFWLRQDURVHBBBBBBBBBBBBBBB
JS 44 (Rev. 10/20)                            CIVIL COVER     SHEET Filed 04/27/21      Page 9 of 9genessee
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
MELVIN JONES JR (and other disabled, indigent Adult Flint residents)                                       VEOLIA
1935 Hosler St. - Flint, Michigan 48503 ph# 810-962-6225
   (b)   County of Residence of First Listed Plaintiff              genessee                               County of Residence of First Listed Defendant
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)
                                                                                                            James M. Campbell
(to be determined - assigned by the District Court Judge)                                                   One Constitution Wharf # 310
                                                                                                            Boston, MA 02129 ph# 617-241-3000

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
   1   U.S. Government               ■3      Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                             (U.S. Government Not a Party)                      Citizen of This State          ■1           1      Incorporated or Principal Place         4     4
                                                                                                                                                       of Business In This State

   2   U.S. Government                   4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place        5       5
         Defendant                             (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                  Citizen or Subject of a             3    ■     3   Foreign Nation                          6       6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                 TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
   110 Insurance                        PERSONAL INJURY              PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
   120 Marine                           310 Airplane                365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
   130 Miller Act                       315 Airplane Product            Product Liability            690 Other                                28 USC 157                        3729(a))
   140 Negotiable Instrument                 Liability              367 Health Care/                                                                                        400 State Reapportionment
   150 Recovery of Overpayment          320 Assault, Libel &            Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
       & Enforcement of Judgment             Slander                    Personal Injury                                                    820 Copyrights                   430 Banks and Banking
   151 Medicare Act                     330 Federal Employers’          Product Liability                                                  830 Patent                       450 Commerce
   152 Recovery of Defaulted                 Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated         460 Deportation
        Student Loans                   340 Marine                      Injury Product                                                         New Drug Application         470 Racketeer Influenced and
        (Excludes Veterans)             345 Marine Product              Liability                                                          840 Trademark                        Corrupt Organizations
   153 Recovery of Overpayment               Liability             PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets         480 Consumer Credit
       of Veteran’s Benefits            350 Motor Vehicle           370 Other Fraud                  710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
   160 Stockholders’ Suits              355 Motor Vehicle           371 Truth in Lending                 Act                                                                485 Telephone Consumer
   190 Other Contract                       Product Liability       380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                       Protection Act
   195 Contract Product Liability       360 Other Personal              Property Damage                   Relations                       861 HIA (1395ff)                  490 Cable/Sat TV
   196 Franchise                            Injury                  385 Property Damage              740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                        362 Personal Injury -           Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                            Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
       REAL PROPERTY                      CIVIL RIGHTS             PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
   210 Land Condemnation                440 Other Civil Rights      Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
   220 Foreclosure                      441 Voting                  463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
   230 Rent Lease & Ejectment           442 Employment              510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
   240 Torts to Land                ■   443 Housing/                    Sentence                                                              or Defendant)                 896 Arbitration
   245 Tort Product Liability               Accommodations          530 General                                                           871 IRS—Third Party               899 Administrative Procedure
   290 All Other Real Property          445 Amer. w/Disabilities -  535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                            Employment              Other:                           462 Naturalization Application                                             Agency Decision
                                        446 Amer. w/Disabilities -  540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                            Other                   550 Civil Rights                     Actions                                                                State Statutes
                                        448 Education               555 Prison Condition
                                                                    560 Civil Detainee -
                                                                        Conditions of
                                                                        Confinement
V. ORIGIN (Place an “X” in One Box Only)
■ 1 Original       2 Removed from                             3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict     8 Multidistrict
       Proceeding            State Court                             Appellate Court              Reopened                    Another District          Litigation -      Litigation -
                                                                                                                              (specify)                 Transfer          Direct File
                                         Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                         28 USC 1331
VI. CAUSE OF ACTION                      Brief description of cause:
                                         related to the Flint Water Crisis Cases pending with Hon. Judge Judith Levy
VII. REQUESTED IN                        ■ CHECK IF THIS IS A CLASS ACTION                     DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                      JURY DEMAND:             Yes   ■ No
VIII. RELATED CASE(S)
                                             (See instructions):
      IF ANY                                                          JUDGE         Hon. Judge Judith Levy                                DOCKET NUMBER 5:16-cv-104444 JEL MKM
DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

   RECEIPT #                     AMOUNT                                        APPLYING IFP                                 JUDGE                           MAG. JUDGE
